      Case 7:24-cv-00322-DC-RCG           Document 14        Filed 03/04/25     Page 1 of 3




                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                               MIDLAND-ODESSA DIVISION

MATTHEW J. PEASE,                   )
                                    )
                                    )
       Plaintiff,                   )
                                    )
        v.                          )                CASE NO. 24-cv-00322-DC-RCG
                                    )
                                    )
SECURITIES AND EXCHANGE             )
COMMISSION, et al.                  )
                                    )
                                    )
        Defendants.                 )
___________________________________ )

    CONSENT MOTION FOR EXTENSION OF TIME TO RESPOND TO THE SECOND
                        AMENDED COMPLAINT

        Pursuant to Rule 6(b) of the Federal Rules of Civil Procedure (“FRCP”), Defendant

Securities and Exchange Commission (“SEC” or “Commission”) requests a 30-day extension of

time to May 7, 2025 1 to respond to Plaintiff’s Second Amended Complaint (ECF 12).

        In support of this motion, the Commission states as follows:

      1.        This motion is the Commission’s first request for an extension of time with

respect to this time limitation.

      2.        Counsel for the Commission has conferred with pro se Plaintiff, and he consented

to the requested extension of the deadline to respond to the Second Amended Complaint. No

other party has made an appearance at this time.

      3.        The Commission requests the additional time to prepare its response to the



1
 Plaintiff served the United States Attorney’s Office for the Western District of Texas on February
6, 2025. Therefore, pursuant to FRCP Rule 12(a)(2), the Commission’s response would be due
April 7, 2025 absent an extension.
     Case 7:24-cv-00322-DC-RCG             Document 14       Filed 03/04/25     Page 2 of 3




Second Amended Complaint because of its breadth. On February 26, 2025, Plaintiff filed a

Second Amended Complaint. The Second Amended Complaint is 93 pages with 328 numbered

allegations. The Second Amended Complaint further has 17 counts and seeks declaratory relief

on a variety of statutory and constitutional bases.

       WHEREFORE, the Commission respectfully moves for an extension of time from April

7, 2025, to and including May 7, 2025, to move to dismiss or otherwise respond to the Second

Amended Complaint.

                                                      Respectfully Submitted,


Date: March 4, 2025                                   /s/ Eric A. Reicher __________

                                                      Melinda Hardy*
                                                      D.C. Bar No. 431906
                                                      Eric A. Reicher**
                                                      D.C. Bar No. 490866
                                                      Securities and Exchange Commission
                                                      100 F Street NE
                                                      Washington, DC 20549
                                                      (202) 551-7921 (phone) (Reicher)
                                                      (202) 772-9263 (facsimile)
                                                      hardym@sec.gov
                                                      reichere@sec.gov

                                                      Jason J. Rose
                                                      Texas Bar No. 24007946
                                                      Securities and Exchange Commission
                                                      801 Cherry Street, Suite 1900
                                                      Fort Worth, Texas 76102
                                                      (817) 978-1408 (phone)
                                                      (817) 978-4927 (facsimile)
                                                      rosej@sec.gov

                                                      Counsel for the SEC

                                                      * Pro Hac Vice Forthcoming
                                                      ** Admitted Pro Hac Vice
  Case 7:24-cv-00322-DC-RCG           Document 14       Filed 03/04/25     Page 3 of 3




                              CERTIFICATE OF SERVICE

       I hereby certify that on this 4th day of March, 2025, I filed or caused to be filed
the foregoing through the CM/ECF system which will provide service to counsels of
record and I will provide a copy to Plaintiff if he does not receive notice through the
CM/ECF system.

                                             /s/ Eric A. Reicher
                                             Eric A. Reicher
                                             Special Trial Counsel
                                             U.S. Securities and Exchange Commission
